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                                                                                Attorneys for Plaintiff
                                                                              6 CHRIS PRINCIPE
                                                                              7
                                                                              8                         UNITED STATES DISTRICT COURT

                                                                              9                        CENTRAL DISTRICT OF CALIFORNIA

                                                                             10
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                                                                             11 CHRIS PRINCIPE,                               )   Case No. 8:17-cv-00608
                                                                                                                              )
                                                                             12                     Plaintiff,                )   COMPLAINT FOR DEFAMATION,
                                                                                                                              )   AND INTENTIONAL
                                                                             13
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                                                                                        v.                                    )   INTERFERENCE WITH
                                                                                                                              )   CONTRACTUAL RELATIONS;
                                                                             14 TIMOTHY GLEN CURRY A/K/A                      )   DEMAND FOR TRIAL BY JURY
                                                                                TIMOTHY TAYSHUN,                              )
                                                                             15                                               )
                                                                                             Defendant.                       )
                                                                             16
                                                                             17         Plaintiff, Chris Principe (“Plaintiff”), by and through his attorneys, Tucker Ellis,
                                                                             18 LLP, files his complaint against Timothy Glen Curry aka Timothy Tayshun
                                                                             19 (“Defendant”) for injunctive relief and damages as follows:
                                                                             20                                       THE PARTIES
                                                                             21         1.    Plaintiff Chris Principe is an individual residing in Florida.
                                                                             22         2.    Plaintiff is informed and believes, and on that basis alleges, that Defendant
                                                                             23 Timothy Glen Curry aka Timothy Tayshun is an individual residing in California.
                                                                             24                          JURISDICTION AND VENUE
                                                                             25         3.    Plaintiff is a citizen of the State of Florida and Defendant is a citizen of the
                                                                             26 State of California. The matter in controversy exceeds the sum of $75,000 exclusive of
                                                                             27 interest and costs. As such, this Court has original jurisdiction of this civil action
                                                                             28 pursuant to 28 U.S.C. § 1332.
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                                                                              1         4.    This Court has supplemental jurisdiction over the claims in this Complaint
                                                                              2 that arise under state statutory and common law of the State of California pursuant to 28
                                                                              3 U.S.C. § 1367, because the state law claims are so related to the claims in which this
                                                                              4 Court has original jurisdiction that they form part of the same case or controversy and
                                                                              5 derive from a common nucleus of operative facts.
                                                                              6         5.    This Court has personal jurisdiction Defendant because Defendant resides
                                                                              7 and is domiciled within the Central District of California.
                                                                              8         6.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b).
                                                                              9                     PLAINTIFF’S BUSINESS AND REPUTATION
                                                                             10         7.    Plaintiff is a consultant in transaction banking, finance and technology.
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                                                                             11 Plaintiff’s career as a consultant also focuses on global trade using cryptocurrency and
                                                                             12 blockchain.
                                                                             13         8.    Cryptocurrency, like BitCoin, is a digital currency in which encryption
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                                                                             14 techniques are used to regulate the generation of units of currency and verify the transfer
                                                                             15 of funds, operating independently of a central bank.
                                                                             16         9.    Blockchain is a digital ledger in which transactions made in cryptocurrency
                                                                             17 are recorded chronologically and publicly.
                                                                             18         10.   In furtherance of his consulting business, Plaintiff has given numerous
                                                                             19 speeches and presentations, as well as trainings and workshops, throughout the world.
                                                                             20         11.   Plaintiff has written over thirty published articles in the transaction banking,
                                                                             21 finance and technology arena.
                                                                             22         12.   Plaintiff is the official Trade Finance Trainer for the certificate program of
                                                                             23 Florida International University and Florida International Banking Association (FIBA)
                                                                             24 since 2012.
                                                                             25         13.   Plaintiff was Chairman of the Banker’s Association for Finance and Trade
                                                                             26 (BAFTA) and the International Financial Services Association (IFSA) National Trade
                                                                             27 Services Product Management Committee from January 2009 to December 2013.
                                                                             28 Plaintiff was the first non-banker voted as the Chairman of this committee.

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                                                                              1         14.   Plaintiff was also the Founding Chairman of the IFSA Financial Supply
                                                                              2 Chain Committee in February 2008.
                                                                              3         15.   Furthermore, Plaintiff is an owner and publisher of Financial IT, an online
                                                                              4 and print resource for Financial Technology market analysis.
                                                                              5         16.   Plaintiff has enjoyed a good reputation both generally and in his occupation.
                                                                              6         17.   Plaintiff’s clients have highly recommended him to others and have referred
                                                                              7 to him as, among other things, “a real expert in trade finance and supply chain,” “one of
                                                                              8 the most visionary Trade Finance and Financial Supply Chain executives in the space,”
                                                                              9 and “a diligent and highly experienced worker.”
                                                                             10                                DEFENDANT’S BUSINESS
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                                                                             11         18.   Defendant is the President and co-founder of ezCoinAccess, which seeks to
                                                                             12 make BitCoin accessible and available to everyone throughout the world.
                                                                             13         19.   Plaintiff is informed and believes, and on that basis alleges, that Defendant
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                                                                             14 operates BitCoin kiosks, which act like cryptocurrency ATMs, in furtherance of his
                                                                             15 investment in the BitCoin cryptocurrency.
                                                                             16         20.   Plaintiff is informed and believes, and on that basis alleges, that Defendant
                                                                             17 supports BitCoin by, among other things, attacking competitors of BitCoin, like
                                                                             18 OneCoin, over the Internet and on social media.
                                                                             19         21.   Plaintiff is informed and believes, and on that basis alleges, that Defendant
                                                                             20 uses the Twitter handle @ezCoinAccess.
                                                                             21         22.   Plaintiff is informed and believes, and on that basis alleges, that Defendant
                                                                             22 frequently comments on the BehindMLM blog posts found at behindmlm.com.
                                                                             23         23.   BehindMLM is a blog or review site on the Internet dedicated to being a
                                                                             24 resource to people curious about the multi-level marketing (i.e. MLM) industry and the
                                                                             25 companies that exist within it.
                                                                             26
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                                                                              1                          FACTUAL BASES FOR COMPLAINT
                                                                              2         24.   In February 2016, Financial IT featured a photograph of Ruja Ignatova on its
                                                                              3 cover and an article about OneCoin, a cryptocurrency promoted by Ms. Ignatova and her
                                                                              4 company, Onecoin Ltd. and which is a competitor to BitCoin.
                                                                              5         25.   Neither Ms. Ignatova nor OneCoin Ltd. paid Plaintiff or Financial IT for that
                                                                              6 cover and article.
                                                                              7         26.   Plaintiff also gave a speech in June 2016 about the uses and benefits of
                                                                              8 cryptocurrencies in global trade at an event hosted by OneCoin Ltd. in London, England.
                                                                              9         27.   Plaintiff was not paid for that speech by Ms. Ignatova or OneCoin Ltd.
                                                                             10         28.   Neither Ms. Ignatova nor OneCoin Ltd. has ever paid Plaintiff or Financial
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                                                                             11 IT for any publication, speech or support.
                                                                             12         29.   Plaintiff is not an employee of OneCoin Ltd. Nor is Plaintiff a paid sponsor
                                                                             13 or representative of OneCoin Ltd.
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                                                                             14         30.   Defendant consistently refers to OneCoin as a Ponzi scheme and a criminal
                                                                             15 enterprise in his Tweets and posts on the Internet.
                                                                             16         31.   In many of Defendant’s Tweets and posts, Defendant has falsely claimed,
                                                                             17 and without any evidence, that Plaintiff has engaged in criminal activity by being paid by,
                                                                             18 and working to support, OneCoin Ltd.
                                                                             19         32.   Defendant also seeks to destroy Plaintiff’s consulting business and
                                                                             20 publishing business because he sends Tweets to Plaintiff’s Twitter handle @cmpleo and
                                                                             21 Financial IT’s Twitter handle @financialit_net to ensure that followers of Plaintiff and
                                                                             22 Financial IT’s Twitter feeds would see Defendant’s false and defamatory Tweets.
                                                                             23         33.   Defendant has also used a series of hashtags in his Tweets to further more
                                                                             24 broadly disseminate his false statements. For instance, Defendant uses hashtags such as
                                                                             25 “#onecoin” and “#ponzi” to tie Defendant’s defamatory Tweets to other Tweets using the
                                                                             26 same hashtags.
                                                                             27         34.   Defendant has Tweeted: “@cmpleo . . . @financialit_net . . . Chris Principe
                                                                             28 pimps #ponzi#Onecoin.”

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                                                                              1         35.   Defendant has Tweeted: “@cmpleo . . . @financialit_net Chris Principe is a
                                                                              2 PAID SHILL for #Onecoin #ponzischeme.”
                                                                              3         36.   Defendant has Tweeted: “@cmpleo . . . @financialit_net . . . WHY IS Chris
                                                                              4 Principe touring/shilling known #ponzischeme #Onecoin.”
                                                                              5         37.   Defendant has Tweeted: “@cmpleo . . . @financialit_net Chris Principe on
                                                                              6 #Onecoin #ponzi payroll #PaidShill.”
                                                                              7         38.   On January 28, 2017, Defendant Tweeted: “. . . @cmpleo @financilit_net
                                                                              8 . . . The Publisher, Chris Principe @cmpleo is on #Onecoin #ponzi payroll!”
                                                                              9         39.   On January 29, 2017, Defendant Tweeted: “@cmpleo . . . WHY IS Chris
                                                                             10 Principe PROMOTING A KNOWN #PONZI #Onecoin.
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                                                                             11         40.   On January 29, 2017, Defendant also Tweeted: “. . . @cmpleo . . . WHY Is
                                                                             12 Chris Principe promoting a KNOWN and INFAMOUS #ponzischeme?”
                                                                             13         41.   On    October    22,     2016,       on    the   BehindMLM      website   at
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                                                                             14 http://behindmlm.com/companies/onecoin/onecoin-payment-delays-triggered-by-hong-
                                                                             15 kong-account-closure/ there appeared a blog entry entitled “OneCoin payment delays
                                                                             16 triggered by Hong Kong account closure.”            On November 2, 2016 at 5:20 a.m.,
                                                                                                      rd
                                                                             17 Defendant wrote the 53 comment to that blog entry that includes the following
                                                                             18 statement: “Despite Chris Principe being on OneCoin payroll . . .” (Emphasis added).
                                                                             19         42.   On    November     15,    2016,       on   the   BehindMLM      website   at
                                                                             20 http://behindmlm.com/companies/onecoin/onecoin-lose-last-bank-account-unable-to-
                                                                             21 accept-wires/ there appeared a blog entry entitled “OneCoin lose last bank account,
                                                                                                                                                                  nd
                                                                             22 unable to accept wires.” On November 15, 2016 at 9:31 a.m., Defendant wrote the 2
                                                                             23 comment to that blog entry that includes the following statement: “Obviously, Chris
                                                                             24 Principe is a similar reptile. I hope someone will come out with evidence and proof as
                                                                             25 to the level of his financial wind fall for helping commit crime, as well. I’m fairly
                                                                             26 sure that Financial IT and any of Principe’s future endeavors will be well received once
                                                                             27 this begins more rapidly unfolding, unless it is a biography about his criminal
                                                                             28 involvement written behind cell walls.” (Emphasis added).

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                                                                              1         43.     On   November      19,   2016,    on    the   BehindMLM        website   at
                                                                              2 http://behindmlm.com/companies/onecoin/onecoins-china-unionpay-cards-disabled-
                                                                              3 public-exchange-denied/ there appeared a blog entry entitled “OneCoin’s China
                                                                              4 UnionPay cards disabled, public exchange denied.” On November 20, 2016 at 3:03 a.m.,
                                                                              5 Defendant wrote the 24th comment to that blog entry that includes the following
                                                                              6 statement: “Chris Principe ala ‘Financial IT’ connections are the only MSB (Money
                                                                              7 Services Business) connections left. And they may be pretty vast. Probably why he
                                                                              8 was bribed handsomely to join. But it’s gotta make you wonder. If Principe IS
                                                                              9 actually willfully facilitating perpetuation of fraud like this through his questionable
                                                                             10 banking networks . . . it’s as if he’s shooting for additional months in prison with
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                                                                             11 every throw.” (Emphasis added).
                                                                             12         44.     In June 2016, Plaintiff first met with members of the management team of
                                                                             13 Skyway Capital (“Skyway”) who were interested in the combination of a future mode of
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                                                                             14 transportation with financing through crowd funding.
                                                                             15         45.     In September 2016, Skyway asked Plaintiff if he would be interviewed for
                                                                             16 Belarus television about his opinions of Skyway and what he thought Skyway’s impact
                                                                             17 would be on the future of transportation. Plaintiff was not paid for this interview.
                                                                             18         46.     Plaintiff and Skyway entered into a representative’s agreement in
                                                                             19 September 2016. Pursuant to this agreement, Plaintiff would provide Skyway with
                                                                             20 access to Plaintiff’s network of contacts in banking, government and industry.
                                                                             21         47.     Pursuant to this agreement, Plaintiff would receive compensation based on
                                                                             22 a commission schedule if one of Plaintiff’s introductions resulted in an executed sale for
                                                                             23 Skyway. Plaintiff’s expenses in making the contacts and introductions would be borne
                                                                             24 by Plaintiff.
                                                                             25         48.     Pursuant to that agreement, Plaintiff travelled throughout the world in
                                                                             26 holding face to face meetings with potential targeted investors. Plaintiff facilitated many
                                                                             27 meetings between these prospective investors and Skyway.
                                                                             28

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                                                                              1         49.    Due to Skyway’s relationship with Plaintiff, Skyway was also identified as
                                                                              2 a Ponzi scheme by BehindMLM and Defendant. Skyway did not want to be associated
                                                                              3 with Plaintiff because of the adverse effect it would have on Skyway’s business,
                                                                              4 reputation and ability to find investors.
                                                                              5         50.    In 2017, Skyway canceled its agreement with Plaintiff because Skyway
                                                                              6 found statements by Defendant on the Internet linking Plaintiff directly as a promoter of a
                                                                              7 Ponzi scheme and Plaintiff did not want to be associated with Plaintiff.
                                                                              8         51.   As a result of Defendant’s defamatory statements, Plaintiff has been forced
                                                                              9 to protect his reputation and prevent Defendant from making intentionally false
                                                                             10 statements which have adversely affected Plaintiff’s business.
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                                                                             11                                    First Cause of Action
                                                                             12                                         (Defamation)
                                                                             13         52.   Plaintiff realleges and incorporates by reference each of the allegations
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                                                                             14 contained in Paragraph 1 through 51 of this Complaint as though fully set forth.
                                                                             15         53.   Defendant’s statements were published on the Internet and on Twitter and
                                                                             16 seen and read by persons other than Plaintiff. Defendant’s statement have been seen and
                                                                             17 read by persons who follow the BehindMLM blog, who follow the Tweets of Plaintiff,
                                                                             18 who follow the Tweets of Financial IT, who follow the Tweets of Defendant, and who
                                                                             19 search any of the hashtags used in Defendant’s Tweets or who use those hashtags to
                                                                             20 follow Tweets related to them.
                                                                             21         54.   Defendant’s statements are false and unprivileged because Plaintiff has not
                                                                             22 been “bribed” by OneCoin Ltd.
                                                                             23         55.   Defendant’s statements are false and unprivileged because Plaintiff was not
                                                                             24 on OneCoin Ltd.’s “payroll.”
                                                                             25         56.   Defendant’s statements are false and unprivileged because Plaintiff has
                                                                             26 never been paid by OneCoin Ltd. or Ms. Ignatova or received any “financial wind fall.”
                                                                             27
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                                                                              1         57.   Defendant’s statements are false and unprivileged because Plaintiff has not
                                                                              2 helped OneCoin Ltd. commit a crime, or done anything illegal involving OneCoin or
                                                                              3 engaged in any criminal activity relating to OneCoin.
                                                                              4         58.   Defendant knew that these statements were false.
                                                                              5         59.   Defendant’s statements expose Plaintiff to hatred, contempt, ridicule or
                                                                              6 obloquy because they challenge his business ethics, accuse him of a crime, and falsely
                                                                              7 claim he is associated or affiliated with a criminal enterprise.
                                                                              8         60.   Defendant’s statements cause Plaintiff to be shunned or avoided, and which
                                                                              9 have a tendency to injure him in his occupation, because they challenge his business
                                                                             10 ethics, accuse him of a crime, and falsely claim he is associated or affiliated with a
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                                                                             11 criminal enterprise.
                                                                             12         61.   Defendant’s statements are defamatory per se because they charge Plaintiff
                                                                             13 with committing a crime.
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                                                                             14         62.   Defendant’s statements are defamatory per se because they tend directly to
                                                                             15 injure Plaintiff in respect to his profession, trade or business by imputing to him general
                                                                             16 disqualification in those respects which his occupation peculiarly requires.
                                                                             17         63.   Defendant’s statements are defamatory per se because they tend directly to
                                                                             18 injure Plaintiff by imputing something with reference to his profession or business that
                                                                             19 has a natural tendency to lessen its profits.
                                                                             20         64.   As a proximate result of these statements, Plaintiff has been damaged
                                                                             21 because Plaintiff has suffered the loss of his reputation, loss of business and loss of
                                                                             22 income in excess of $75,000. Defendant’s statements had the effect of discouraging
                                                                             23 businesses from dealing with Plaintiff, by lowering the reputation of Plaintiff, and
                                                                             24 deterring other businesses from dealing with him.
                                                                             25         65.   As a proximate result of these statements, Plaintiff has been damaged
                                                                             26 because Plaintiff has been forced to pay an outside consultant to help repair the damage
                                                                             27 to Plaintiff’s reputation.
                                                                             28

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                                                                              1         66.   Defendant made these statements intentionally, with malice and without any
                                                                              2 evidence to support them. As such, Plaintiff is entitled to exemplary damages.
                                                                              3         67.   Defendant’s statements have irreparably harmed and, if not enjoined, will
                                                                              4 continue to irreparably harm Plaintiff and his business reputation.
                                                                              5         68.   By reason of Defendant’s acts, Plaintiff’s remedy at law is not adequate to
                                                                              6 compensate for the injuries inflicted by Defendant. Accordingly, Plaintiff is entitled to
                                                                              7 entry of a temporary restraining order against Defendant and preliminary and permanent
                                                                              8 injunctive relief.
                                                                              9                                   Second Cause of Action
                                                                             10                      (Tortious Interference With Contractual Relations)
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                                                                             11         69.    Plaintiff realleges and incorporates by reference each of the allegations
                                                                             12 contained in Paragraph 1 through 68 of this Complaint as though fully set forth.
                                                                             13         70.    Defendant knew or should have known that his false and defamatory
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                                                                             14 statements would reach current or prospective clients of Plaintiff because Defendant used
                                                                             15 Plaintiff’s Twitter handle @cmpleo and Financial IT’s Twitter handle @financialit_net
                                                                             16 on most of Defendant’s false and defamatory Tweets.
                                                                             17         71.    Defendant knew or should have known of the relationship between Plaintiff
                                                                             18 and Skyway when he made the false and defamatory statements because Defendant
                                                                             19 commented on the blog entry at the BehindMLM website entitled “OneCoin’s Chris
                                                                             20 Principe also promoting Skyway Capital Ponzi scheme.”
                                                                             21         72.    Defendant’s statements have induced or will induce Plaintiff’s clients, like
                                                                             22 Skyway, to breach their agreements with Plaintiff.
                                                                             23         73.    Defendant’s statements have induced or will induce Plaintiff’s prospective
                                                                             24 clients not to enter into any agreements with Plaintiff.
                                                                             25         74.    As a proximate result of these statements, Plaintiff has been damaged
                                                                             26 because Plaintiff lost clients, business, potential clients and income in excess of $75,000.
                                                                             27 Defendant’s statements had the effect of discouraging businesses from dealing with
                                                                             28

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                                                                              1 Plaintiff, by lowering the reputation of Plaintiff, and deterring other businesses from
                                                                              2 dealing with him.
                                                                              3          75.   Defendant made these statements intentionally, with malice and with the
                                                                              4 intent to interfere with and disrupt the contractual relationships between Plaintiff and his
                                                                              5 clients. As such, Plaintiff is entitled to exemplary damages.
                                                                              6          76.   Defendant’s statements have irreparably harmed and, if not enjoined, will
                                                                              7 continue to irreparably harm Plaintiff and his contractual relationships with his clients
                                                                              8 and prospective clients.
                                                                              9          77.    By reason of Defendant’s acts, Plaintiff’s remedy at law is not adequate to
                                                                             10 compensate for the injuries inflicted by Defendant. Accordingly, Plaintiff is entitled to
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                                                                             11 entry of a temporary restraining order against Defendant and preliminary and permanent
                                                                             12 injunctive relief.
                                                                             13                                       Prayer for Relief
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                                                                             14          Therefore, Plaintiff respectfully requests judgment as follows:
                                                                             15          1.    That the Court enter a judgment against Defendant that:
                                                                             16                (a)   Defendant’s statements are defamatory;
                                                                             17                (b)   Defendant’s statements are defamatory per se;
                                                                             18                (c)   Defendant intentionally interfered with Plaintiff’s contractual
                                                                             19                      relationships; and
                                                                             20                (d)   Defendant intentionally interfered with Plaintiff’s prospective
                                                                             21                      economic relationships..
                                                                             22          2.    That each of the above acts were willful.
                                                                             23          3.    That the Court issue a Temporary Restraining Order and Preliminary
                                                                             24 Injunction enjoining and restraining Defendant and its respective agents, servants,
                                                                             25 employees, successors and assigns, and all other persons acting in concert with or in
                                                                             26 conspiracy with or affiliated with Defendant, from making false and defamatory
                                                                             27 statements about Plaintiff.
                                                                             28       4.    That Plaintiff be awarded damages for Defendant’s defamation.

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                                                                              1          5.    That Plaintiff be awarded damages for Defendant’s interference with
                                                                              2 Plaintiff’s contractual relations.
                                                                              3          6.    That Plaintiff be awarded exemplary or punitive damages in an amount
                                                                              4 appropriate to punish Defendant and to make an example of Defendant to the community.
                                                                              5          7.    That the Court issue a Permanent Injunction enjoining and restraining
                                                                              6 Defendant and his respective agents, servants, employees, successors and assigns, and all
                                                                              7 other persons acting in concert with or in conspiracy with or affiliated with Defendant,
                                                                              8 from making false and defamatory statements regarding Plaintiff.
                                                                              9          8.    That the Court award Plaintiff his costs of suit incurred herein.
                                                                             10          9.    That Plaintiff be awarded such other relief as may be appropriate, including
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                                                                             11 costs of corrective advertising
                                                                             12
                                                                             13 DATED: April 4, 2017                           Tucker Ellis LLP
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                                                                             14
                                                                             15                                                By:    /s/Howard A. Kroll
                                                                             16                                                       Howard A. Kroll
                                                                                                                                      Attorneys for Plaintiff
                                                                             17                                                       CHRIS PRINCIPE
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                                                                              1                              DEMAND FOR TRIAL BY JURY
                                                                              2
                                                                              3            Plaintiff Chris Principe hereby demands a trial by jury to decide all issues so
                                                                              4 triable in this case.
                                                                              5
                                                                              6 DATED: April 4, 2017                          Tucker Ellis LLP
                                                                              7
                                                                              8                                               By:   /s/Howard A. Kroll
                                                                              9                                                     Howard A. Kroll
                                                                                                                                    Attorneys for Plaintiff
                                                                             10                                                     CHRIS PRINCIPE
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